        Case 1:01-cv-12257-PBS Document 6530 Filed 09/22/09 Page 1 of 6



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 In re: PHARMACEUTICAL INDUSTRY                    )
 AVERAGE WHOLESALE PRICE                           )   MDL No. 1456
 LITIGATION                                        )   Civil Action No. 01-12257-PBS
                                                   )
                                                   )   Subcategory No. 06-11337-PBS
 THIS DOCUMENT RELATES TO:                         )
                                                   )   Hon. Patti B. Saris
 United States of America ex rel. Ven-a-Care of    )
 the Florida Keys, Inc. v. Abbott Laboratories,    )
 Inc., Civil Action No. 06-11337-PBS               )



           UNITED STATES’ NOTICE OF FILING DECLARATION OF
 ANN M. ST. PETER-GRIFFITH SUBMITTING EXHIBITS IN SUPPORT OF UNITED
STATES’ RESPONSE TO ABBOTT LABORATORIES INC.’S RULE 56.1 STATEMENT
      OF ADDITIONAL FACTS THAT PRECLUDE SUMMARY JUDGMENT

       The United States hereby gives notice of the filing of the attached Declaration of Ann M.

St. Peter-Griffith Submitting Exhibits in Support of United States’ Response to Abbott

Laboratories Inc.’s Rule 56.1 Statement of Additional Facts That Preclude Summary Judgment,

and attaches hereto, Attachment 1 Exhibit List 1 to 20 and Exhibits 1 to 20.
       Case 1:01-cv-12257-PBS Document 6530 Filed 09/22/09 Page 2 of 6




 Respectfully submitted,

 For the United States of America

 MICHAEL K. LOUCKS                               TONY WEST
 ACTING UNITED STATES ATTORNEY                   ASSISTANT ATTORNEY GENERAL

 George B. Henderson, II                         Joyce R. Branda
 Assistant U.S. Attorney                         Daniel R. Anderson
 John Joseph Moakley U.S. Courthouse             Renée Brooker
 Suite 9200, 1 Courthouse Way                    Justin Draycott
 Boston, Massachusetts 02210                     Rebecca Ford
 Phone: (617) 748-3398                           Elizabeth Strawn
 Fax: (617) 748-3272                             Civil Division
                                                 Commercial Litigation Branch
                                                 P.O. Box 261
 JEFFREY H. SLOMAN                               Ben Franklin Station
 ACTING UNITED STATES ATTORNEY                   Washington, D.C. 20044
 SOUTHERN DISTRICT OF FLORIDA                    Phone: (202) 305-9300
                                                 Fax: (202) 307-3852
  s/ Ann M. St. Peter-Griffith
 Mark A. Lavine
 Ann M. St. Peter-Griffith
 Special Assistant United States Attorneys
 99 NE 4th Street, 3rd Floor
 Miami, Florida 33132
 Phone: (305) 961-9003
 Fax: (305) 536-4101


Dated: September 22, 2009




                                             2
       Case 1:01-cv-12257-PBS Document 6530 Filed 09/22/09 Page 3 of 6




        I hereby certify that I have this day caused an electronic copy of the above UNITED
STATES’ NOTICE OF FILING DECLARATION OF ANN M. ST. PETER-GRIFFITH
SUBMITTING EXHIBITS IN SUPPORT OF UNITED STATES’ RESPONSE TO
ABBOTT LABORATORIES INC.’S RULE 56.1 STATEMENT OF ADDITIONAL
FACTS THAT PRECLUDE SUMMARY JUDGMENT to be served on all counsel of record
via electronic service pursuant to Paragraph 11 of Case Management Order No. 2 by sending a
copy to LexisNexis File & Serve for posting and notification to all parties.


                                                 /s/ Mark Lavine
Dated: September 22, 2009                        Mark Lavine




                                             3
Case 1:01-cv-12257-PBS Document 6530 Filed 09/22/09 Page 4 of 6
         Case 1:01-cv-12257-PBS Document 6530 Filed 09/22/09 Page 5 of 6




                                     ATTACHMENT 1
#          EXHIBIT DESCRIPTION
Ex.1       04/30/09 Montanez Deposition Transcript Excerpts


Ex. 2      01/31/01 Cicerale Email to Adams                             Exhibits 941,
           Subject: Abbott Labs Wholesale Price Change;                 Sellers 586
           02/01/01 Cicerale Email to Morgan
           Subject: RE: Abbott Labs Wholesale Price Change
Ex. 3      04/12/07 Sellers Deposition Transcript Excerpts
Ex. 4      03/16/08 & 03/31/08 Sellers Deposition Transcript Excerpts   Exhibit Sellers
                                                                        587
Ex. 5      04/15/09 Rossiter Deposition Transcript Excerpts
Ex. 6      05/01/09 Helms Deposition Transcript Excerpts
Ex. 7      06/26/00 Marvin Hazelwood Email to Steve Bradley;
           Matt Powers Memorandum to Matt Magalis
           Re: Senator Carl Hawkinson;
           Matt Magalis letter to Senator Carl E. Hawkinson
           AWP-IL-00016887-16891


Ex. 8      12/15/08 Wells Deposition Transcript Excerpt
Ex. 9      11/18/08 Parker Deposition Transcript Excerpts
Ex. 10     01/23/08 Gerimed (Rhodus) Deposition Transcript
           Excerpts
Ex. 11     08/29/07 Rodman Deposition Transcript Excerpts
Ex. 12     10/15/07 Landsidle Deposition Transcript Excerpts &          Exhibits 14, 17,
           Lobbying Exhibits                                            20, 21, 23,1125,
                                                                        1133, 1134, 1136,
                                                                        1137, 1138, 1139,
                                                                        1140, 1141, 1354,
                                                                        1505
Ex. 13     5/18/07 & 12/05/07 DeParle Deposition Transcript Excerpts
Ex. 14     08/24/01 Terrebonne Email to Reeder
           JD-SUB-LA-000687-692
Ex. 15     01/24/08 Gaston Deposition Transcript Excerpts
         Case 1:01-cv-12257-PBS Document 6530 Filed 09/22/09 Page 6 of 6




Ex. 16     12/15/08 Dubberly Deposition Transcript Excerpts          Exhibit 18
Ex. 17     08/27/07 Morgan Deposition Transcript Excerpt
Ex. 18     10/25/07 Tootell Deposition Transcript Excerpts
Ex. 19     10/29/07 Booth Deposition Transcript Excerpts
Ex. 20     01/23/09 Supplement to Duggan Report & Tables A, B, & C
           (See Docket Number #6310 Henderson Common Declaration
           Exhibit 41 Duggan Part A & Part B)
